Case 1:20-cv-00484-RDA-TCB Document 12-1 Filed 04/27/20 Page 1 of 6 PageID# 147




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Case 1:20-cv-00484-RDA-TCB Document 12-1 Filed 04/27/20 Page 2 of 6 PageID# 148
Case 1:20-cv-00484-RDA-TCB Document 12-1 Filed 04/27/20 Page 3 of 6 PageID# 149
Case 1:20-cv-00484-RDA-TCB Document 12-1 Filed 04/27/20 Page 4 of 6 PageID# 150
Case 1:20-cv-00484-RDA-TCB Document 12-1 Filed 04/27/20 Page 5 of 6 PageID# 151
Case 1:20-cv-00484-RDA-TCB Document 12-1 Filed 04/27/20 Page 6 of 6 PageID# 152
